                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION


    BLEVINS, INC.,

          Plaintiff,

    v.
                                                               Case No. _____________
    LANDMARK TECHNOLOGY A, LLC,

           Defendant.


                        COMPLAINT FOR DECLARATORY JUDGMENT


          Plaintiff Blevins, Inc., by and through its counsel of record, brings this Complaint for

Declaratory Judgment of Invalidity and Declaratory Judgment of Non-Infringement of U.S. Patent

Nos. 6,289,319 (“‘319 Patent”) and 7,010,508 (“‘508 Patent”) against Defendant Landmark

Technology A, LLC, and states and alleges as follows:

                                    NATURE OF THE ACTION

          1.      This is an action under the Declaratory Judgment Act, 28 U.S.C. §§ 2201, et seq.,

for declaratory judgment of invalidity and non-infringement of the ‘319 and ‘508 Patents arising

under the patent laws of the United States, Title 35 of the United States Code.

                                              PARTIES
          2.      Blevins, Inc. (“Blevins”) is a corporation organized and existing under the laws of

the State of Tennessee, having its principal place of business located at 421 Hart Lane, Nashville,

Davidson County, Tennessee 37216.

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       3.      Upon information and belief, Landmark Technology A, LLC (“Landmark”) is a

limited liability company organized under the laws of the State of North Carolina with its principal

place of business located at 2530 Meridian Parkway, Suite 300, Durham, North Carolina 27713.

       4.      Upon information and belief, from issuance until December of 2018, the ‘319 and

‘508 Patents were exclusively licensed to Landmark Technologies, LLC (“Old Landmark”).

                                 JURISDICTION AND VENUE

       5.      The Court has original and exclusive subject matter jurisdiction over these claims

pursuant to 28 U.S.C. §§ 1331 and 1338(a) because this Complaint states claims arising under an

Act of Congress relating to patents, 35 U.S.C. § 271.

       6.      This is an action arising under the Declaratory Judgment Act, 28 U.S.C. §§ 2201,

et seq., based on the declaratory judgment sought by Blevins due to Landmark’s and its

predecessor’s accusations against Blevins of patent infringement of the ‘319 and ‘508 Patents, and

due to Landmark’s pattern of actual infringement litigation concerning the ‘508 Patent, thereby

giving rise to an actual case and controversy under 28 U.S.C. § 2201.

       7.      This Court has personal jurisdiction over Landmark because Landmark sent to

Blevins at its principal place of business in Nashville, Tennessee a letter alleging infringement and

demanding that Blevins enter into a license agreement. (Exhibit A). Thus, Landmark has

purposefully directed its charges of infringement to Blevins in Tennessee. As such, Landmark has

knowingly availed itself of personal jurisdiction in Tennessee.

       8.      Venue is proper in this district because Blevins operates its principal place of

business in Nashville, Davidson County, Tennessee, within the Middle District of Tennessee.

Venue is also proper pursuant to 28 U.S.C. §§ 1391(b), (c), and 1400(b) because a substantial part




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of the events giving rise to Blevins’ claims occurred in the Middle District of Tennessee, or,

alternatively, because Landmark is subject to this Court’s personal jurisdiction.

                                 FACTUAL BACKGROUND

A. GENERAL BACKGROUND

        9.     On information and belief, Landmark does not practice the claims of the ‘319 or

‘508 Patents, and Landmark does not make, use, or sell any product or services of its own.

        10.    On information and belief, Landmark’s sole business model and activity involves

sending letters accusing others of patent infringement and threatening litigation. (See Exhibit E).

        11.    On information and belief, Landmark is, or has been, involved in at least eighteen

(18) other actions against various companies involving claims about the ‘508 Patent, twelve (12)

of which were filed by Landmark as patent infringement actions.1 On information and belief, Old

Landmark filed dozens of patent infringement actions against various companies asserting claims

based on its “patent portfolio,” including the ‘319 and ‘508 Patents.

        12.    In each of the twelve (12) patent infringement actions filed by Landmark as actions

alleging infringement of the ‘508 Patent, Landmark has sought an injunction against the accused

infringer.




1Landmark Technology A, LLC v. Specialty Bottle, Inc., Case no. 2:2019-cv-311 (W.D. Wash.);
Landmark Technology A, LLC v. The Essential Baking Co., Inc., Case no. 2:2019-cv-1208 (W.D.
Wash.); Landmark Technology A, LLC v. Woodland Foods, Ltd. Case no. 1:2019-cv-2557 (N.D.
Ill.); Landmark Technology A, LLC v. U.S. Safety Gear, Inc., Case no. 4:2019-cv-270 (N.D.
Ohio); Landmark Technology A, LLC v. The Miami Corp., Case no. 1:2019-cv-653 (S.D. Ohio);
Landmark Technology A, LLC v. Amerimark Direct, LLC, Case no. 1:19-cv-1077 (S.D. Ohio);
Landmark Technology A, LLC v. Frost Elec. Supply Co., Case no. 4:19-cv-3307 (E.D. Mo.);
Landmark Technology A, LLC v. Sterling Paper Co., Case no. 2:20-cv-769 (S.D. Ohio);
Landmark Technology A, LLC v. Tom Bihn Inc., Case no. 2:20-cv-328 (W.D. Wash.); Landmark
Technology A, LLC v. Mailender, Inc., Case no. 1:20-cv-479 (S.D. Ohio); Landmark Technology
A, LLC v. Stoneway Elec. Supply Co., Case no. 2:20-cv-974 (W.D. Wash); and Landmark
Technology A, LLC v. Art of Beauty Co., Case no. 1:20-cv-1637 (N.D. Ohio).
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         13.    Landmark also appears to systematically and quickly settle litigation involving the

‘508 Patent prior to any potentially damaging rulings on the baselessness of Landmark’s claims or

the invalidity of the ‘508 Patent, thereby preserving Landmark’s ability to extract licensing fees

from other companies moving forward.

B. LANDMARK’S DEMANDS TO BLEVINS

         14.    On or about July 3, 2020, Landmark, sent a demand letter (the “Demand Letter”)

to Mr. Brad Blevins of Blevins, stating that the letter regarded “Infringement of Landmark

Technology A, LLC’s Patent Rights.” A true and correct copy of the Demand Letter as received

is attached as Exhibit A.

         15.    In the Demand Letter, counsel for Landmark claims that Landmark has “exclusive

rights” to patents including the ‘319 and ‘508 Patents and further claims that “[Blevins’] data

processing systems practices Landmark’s [‘319 Patent],” and “the specific functionalities

implemented by Blevins using their servers and devices interfaced to Blevins’ web servers

constitutes use of the technology taught within the meaning of Claim 1 of the ‘508 patent.” (See

Exhibit A).

         16.    This Demand Letter offers no element-by-element analysis relative to the claims of

the ‘319 Patent or claims of the ‘508 Patent, or any other type of analysis or description of the

specific Blevins systems believed to practice the claims of the ‘319 and ‘508 Patents. Instead,

Landmark simply includes a link to a single page of Blevins’ website2 along with nonspecific

accusations, which upon information and belief, are common to most or all of the demand letters

issued by Landmark and its attorneys. (See Exhibit E). In the Demand Letter, Landmark further




2   See https://www.blevinsinc.com.
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demanded payment through deceptive and misleading information regarding the importance of the

‘319 Patent as a “pioneer patent” known to be “of greater technical importance.”

       17.     The Demand Letter reiterated Old Landmark’s previous offer to Blevins of “a non-

exclusive license to its ‘319 Patent, for $65,000,” and Landmark demanded a response from

Blevins within fifteen (15) days.

       18.     Nowhere in the Demand Letter did Landmark indicate that its offer was negotiable.

Upon information and belief, this tactic is designed to extract payment from Blevins (and other

recipients of similar letters), knowing that the payment would be significantly less expensive than

defending against even an invalid patent.

       19.     Blevins had no knowledge of Landmark, Old Landmark, or the ‘319 or ‘508 Patents

until receipt of the demand letters sent on behalf of those entities.

C. THE ‘319 PATENT

       20.     The ‘319 Patent, entitled “Automated Business and Financial Transaction

Processing System,” issued on or about September 11, 2001 to Lawrence B. Lockwood

(“Lockwood”) as the named inventor. (See Exhibit B).

       21.     The ‘319 Patent is directed to “A system for filing applications with an institution

from a plurality of remote sites, and for automatically processing said applications in response to

each applicant’s credit rating obtained from a credit reporting service comprising a series of self-

service terminals remotely linked via a telephone line to a first computer at the institution and to a

second computer at the credit reporting service headquarters.”

       22.     The specification for the ‘319 Patent also states: “The principal object of this

invention is to provide an economical means for screening loan applications.” Other objects of the

invention, as stated in the specification, include: “a system that ties together financial institution



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data processing, the computer services of a credit reporting bureau, and a plurality of remote

terminals. Each remote terminal displays the live image of a fictitious loan officer who helps the

applicant through an interactive series of questions and answers designed to solicit from the

applicant all the information necessary to process his loan application.”

       23.     Lockwood, as applicant, filed a “continuation-in-part” patent application in 1986

which essentially continued and amended an original patent application he had filed in 1984. This

continuation-in-part patent application was rejected by the U.S. Patent and Trademark Office

(“USPTO”) in 1988 and subsequently abandoned. Thereafter, between 1988 and 1993, Lockwood

sequentially filed four additional “continuation” patent applications, each having essentially

identical patent specifications as the 1986 filing. All of these applications were also rejected by

the USTPO and subsequently abandoned. Finally, on November 30, 1994, Lockwood filed yet

another patent application, U.S. application no. 08/347,270 (“‘270 Application”), which uses the

same patent specification he had used in his five previous patent applications.          The ‘270

Application ultimately became the ‘319 Patent.

       24.     When Lockwood filed the ‘270 Application in 1994, he originally called the

application an “Automatic Loan Processing Terminal System.”

       25.     Throughout the prosecution history of the ‘270 Application, Lockwood made

numerous statements of record that define, and limit, the scope of the claims of the ‘319 Patent,

including:

               a.      Changing the title of the application to “Automatic Business and Financial

       Transaction Processing System”;

               b.      Stating that the claimed system had:

                       “ * * * the novel capability of processing the answer given
                       by the operator in combination with prior answers and other

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                 data to formulate or compose a new inquiry, or a response;
                 and to make on-site decisions about the next operational
                 step. The net effect and result being the operator’s responses
                 create a highly individualized, unique, ‘one-of-a-kind’
                 question and answer presentation.”


         c.      Arguing that this concept could be found in the “means for fetching

 additional inquiring sequences” of Claim 1, which was a required feature or limitation of

 the terminal according to Claim 1;

         d.       Arguing that:

                 “The instant invention employs a type of problem solving
                 technique known in the art as forward-chaining (‘IBM
                 Dictionary’, page 285). Forward-chaining is a way to
                 emulate human deductive or data-driven reasoning. * * *
                 Forward-chaining is generally associated with knowledge
                 bases that have large numbers of possible solutions, and are
                 frequently used when data is the starting point for solving a
                 problem. Examples of applications that are associated with
                 forward- chaining are planning, designing and forecasting.”

         e.      Arguing that, in contrast to the “rigid, pre-ordained,” menu systems

 described in the prior art references, his claimed invention had ability to dynamically

 “interact” with a customer, via a simulated loan officer displayed on a screen, rather than

 follow such rigid search and retrieval routines “and through which the user could be

 provided only with the exact thing that he had entered on the keypad”;

         f.      Filing an amendment to the ‘319 Patent adding 22 new dependent claims,

 and in doing so, arguing that, with respect to 35 U.S.C. § 102 and § 103 rejections over

 newly cited prior art, that:

                 “What distinguishes the structure recited in Claim 1 from
                 Lockwood and from the above cited prior art is first, the
                 architecture of the system, and second, the novel and non-
                 obvious ability of the terminal to formulate independently
                 from the central processor, intelligent inquiries based on a
                 combination of prior and newly acquired information.”

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              g.         Characterizing his concept as requiring the subject terminal to make the

       intelligent decisions itself —not the mainframe computer or server.

       26.    Additionally, as the result of an ex parte reexamination of certain claims of the ‘319

Patent, in a section titled, “Claim Language Interpretation,” the Examiner explained how he

interpreted the elements of Claim 1:

              “ * * * the ‘means-plus-function’ limitation ‘means for fetching
              additional inquiring sequences in response to a plurality of said data
              entered through said means for entering and in response to
              information received from said central processor’ is now interpreted
              to require the function . . . [a terminal] programmed to fetch
              additional inquiring sequences such as additional questions or
              options to a user in response to user entry of data and information
              receipt from the central processor, i.e., ‘forward chaining’ in
              response to user entry of data and information receipt from the
              central processor as characterized by the Patent Owner.”

       27.    The sole remaining independent claim of the ‘319 Patent, Claim 1, reads as follows:

       1. An automatic data processing system for processing business and financial transactions
       between entities from remote sites which comprises:
       a central processor
       programmed and connected to process a variety of inquiries and orders transmitted from
          said remote sites;
       said central processor including:
       means for receiving information about said transactions from said remote sites;
       means for retrievably storing said information;
       at least one terminal at each of said remote sites including a data processor and operational
            sequencing lists of program instructions;
       means for remotely linking said terminal to said central processor and for transmitting data
          back and forth between said central processor and said terminal;
       said terminal further comprising means for dispensing information and services for at least
           one of said entities including:
       a video screen;
       means for holding operational data including programing, informing, and inquiring
          sequences of data;
       means for manually entering information;


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       means for storing information, inquiries and orders for said transactions entered by one of
          said entities via said means for manually entering information, and data received
          through and from said central processor;
       on-line means for transmitting said information, inquiries, and orders to said central
           processor;
       on-line means for receiving data comprising operator- selected information and orders from
           said central processor via said linking means;
       means for outputting said informing and inquiring sequences on said video screen in
          accordance with preset routines and in response to data entered through said means for
          entering information;
       means for controlling said means for storing, means for outputting, and means for
          transmitting, including means for fetching additional inquiring sequences in response
          to a plurality of said data entered through said means for entering and in response to
          information received from said central processor;
       said informing sequences including directions for operating said terminal, and for
           presenting interrelated segments of said operational data describing a plurality of
           transaction operations;
       said programming sequences including means for interactively controlling the operation of
           said video screen, data receiving and transmitting means; and for selectively retrieving
           said data from said means for storing;
       said means for storing comprising means for retaining said operational sequencing list and
           means responsive to the status of the various means for controlling their operation;
       said central processor further including:
       means responsive to data received from one of said terminals for immediately transmitting
          selected stored information to said terminal; and
       means responsive to an order received from a terminal for updating data in said means for
          storing;
       whereby said system can be used by said entities, each using one of said terminals to
          exchange information, and to respond to inquiries and orders instantaneously and over
          a period of time.

       28.     Blevins markets and sells products online through its website www.blevinsinc.com

and ships products to customers who place orders through its website.

       29.     In order for a customer to access www.blevinsinc.com, the customer must first

choose to install third party internet browser software (such as: Explorer, Firefox, or Safari) onto

the customer’s computer or device, through which a customer can then “visit” Blevins’ website by


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typing a URL into a text box of the browser or selecting a link to the URL for Blevins’ website

following a search engine query.

       30.     The customer action causes the customer’s internet browser to send a request to a

third-party’s web server which hosts Blevins’ website via a standard internet connection.

       31.     In response to the request from the customer’s browser, a third-party web server

causes Blevins’ website to be displayed onto the customer’s computer or device, after which the

customer then interacts with the menus displayed on the customer’s devices in order to select and

order products.

       32.     Blevins’ website is hosted at a third party’s web server farm that is neither owned

nor operated by Blevins.

       33.     Blevins does not own, operate, or control any of its customer’s computers or mobile

devices used to access its website.

       34.     The computers and mobile devices used by Blevins’ customers do not utilize any

dynamic and sophisticated forward chaining analysis when interacting with Blevins’ website.

       35.     For at least these reasons, Blevins does not infringe any valid and enforceable claim

of the ‘319 Patent.

       36.     The ‘319 Patent discloses and claims generic, non-novel, and obvious subject

matter related to processing business and financial transactions between entities from remote sites.

       37.     Lockwood did not invent:

               a.      The central processor as disclosed and/or claimed in the ‘319 Patent;

               b.      The terminal as disclosed and/or claimed in the ‘319 Patent;

               c.      The video screen as disclosed and/or claimed in the ‘319 Patent;




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            d.   Means for receiving information as disclosed and/or claimed in the ‘319

  Patent;

            e.   Means for remotely linking the terminal to the central processor as disclosed

  and/or claimed in the ‘319 Patent;

            f.   Means for holding operational data as disclosed and/or claimed in the ‘319

  Patent;

            g.   Means for manually entering information as disclosed and/or claimed in the

  ‘319 Patent;

            h.   Means for storing information as disclosed and/or claimed in the ‘319

  Patent;

            i.   On-line means for receiving data as disclosed and/or claimed in the ‘319

  Patent;

            j.   Means for outputting informing and inquiring sequences on a video screen

  as disclosed and/or claimed in the ‘319 Patent;

            k.   Means for controlling the means for storing, means for outputting, and

  means for transmitting as disclosed and/or claimed in the ‘319 Patent;

            l.   Means for retaining the operational sequencing list as disclosed and/or

  claimed in the ‘319 Patent;

            m.   Means responsive to the status of the various means for controlling as

  disclosed and/or claimed in the ‘319 Patent;

            n.   Means responsive to data received as disclosed/claimed in the ‘319 Patent;

  or

            o.   Any new, useful, or non-obvious hardware.



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          38.   Lockwood’s claims in the ‘319 Patent are directed to abstract ideas; for example,

the ‘319 Patent attempts to claim the abstract idea of automated data processing of business

transactions. Nothing in the claims, “transform the nature of the claims” into patent eligible subject

matter. Furthermore, “[t]he mere visitation of a generic computer cannot transform a patent-

ineligible abstract idea into a patent-eligible invention.” Alice Corp. v. CLS Bank, 134 S. Ct. 2347

(2014).

          39.   The claims of the ‘319 Patent do not constitute patentable subject matter pursuant

to 35 U.S.C. § 101, and therefore are invalid as directed to an abstract idea without any significant

additional innovation.

          40.   Additionally, the ‘319 Patent is invalid as anticipated pursuant to § 102 or as

obvious pursuant to § 103.

          41.   The claims of ‘319 Patent are also invalid under 35 U.S.C. § 112 for at least the

reasons that the claims are indefinite, unsupported by the written description, and are not enabled

by the specification which, for example, does not mention, teach, or discuss processing orders and

does not provide any structure for the numerous means-plus-function clauses recited in the claims

other than generic computer parts.

D. THE ‘508 PATENT

          42.   The ‘508 Patent, entitled “Automated Multimedia Data Processing Network,” was

issued on March 7, 2006 to Lockwood as the named inventor. (Exhibit C).

          43.   The ‘508 Patent is directed to an automated multimedia system for data processing.

Specifically, the ‘508 Patent is directed to “terminals used by banking and other financial

institutions to make their services available at all hours of the day from various remote locations.”

(Exhibit C, col. 1, ll. 22–25).



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         44.    The ‘508 Patent states “[t]he principal object of this invention is to provide an

economical means for screening loan applications.” (See Exhibit C, col. 1, ll. 46–47). Yet that

description and the financial institutions aspects of the Patent, which limit the claims as explained

below, have nothing to do at all with Blevins’ business. Other objects of the invention include:

                “a system that ties together financial institution data processing, the
                computer services of a credit reporting bureau, and a plurality of
                remote terminals. Each remote terminal displays the live image of
                a fictitious loan officer who helps the applicant through an
                interactive series of questions and answers designed to solicit from
                the applicant all the information necessary to process his loan
                application.”

(See Exhibit C, col. 1, l. 64 – col. 2, l. 4).

         45.    The terminals of the claimed system are analogous to ATMs where a user visits the

remote terminal and interacts with that terminal. But instead of obtaining cash from one’s

accounts, the user obtains a loan or other financial product from a third-party institution. Part of

the invention was to move beyond typical vending machines and into the realm of “more complex

types of goods and services distribution which requires a great deal of interaction between

individual or between individuals and institutions.” (Exhibit C, col.1, ll. 40–43).

         46.    According to the ‘508 Patent, remote terminals present a live image of a “fictitious”

automated loan officer who would guide users through questions and then “make a decision based

on all the information gathered,” including offering a loan amount. (Exhibit C, col. 1, l. 64 – col.

2., l. 11).

         47.    According to the patent and prosecution history, the ‘508 Patent presents a solution

to a problem of tying together financial institution data processing, the computer services of a

credit reporting bureau, and a plurality of remote terminals. Each remote terminal displays a live

image and interactive series of questions.



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        48.      According to the Patent, its prosecution history, and its claims, the ‘508 Patent

requires an interactive video presentation on the video display of the station or terminal. (Exhibit

C, col. 7, ll. 4–12).

        49.      The claims of the ‘508 Patent require that its method make suggestions, or

independently provide something different than what was requested but more responsive to the

user’s needs, and output said suggestions via the video display.

        50.      Claim 1 of the ‘508 Patent, which Blevins is alleged to have infringed, claims as

follows:

              1. An automated multimedia system for data processing which comprises:
              a computerized installation including a database, means for entering data into
                  said database, and a program means for storing, processing, updating, and
                  retrieving data items in response to coded requests from stations in
                  communication with said installation;
              at least one station including a general purpose computer and a program
                  applicable to said computer for sending said requests to said installation;
              means for communicating data back and forth between said installation and said
                 station;
              said station further including:
              a mass memory and means associated therewith for storing and retrieving
                 textual and graphical data; a video display and means associated therewith
                 for displaying textual and graphical data; means for entering information
                 into said computer;
              means for programming sequences of inquiring messages on said video display
                 in accordance with preset routines and in response to said information;
              said sequences including instructions to an operator of said station for operating
                  said station;
              and means for selectively and interactively presenting to said operator
                 interrelated textual and graphical data describing a plurality of transaction
                 options, and for selectively retrieving data from said mass memory;
              means for storing information, inquiries, and orders for transactions entered by
                 said operator via said means for entering information; means for
                 transmitting said inquiries and orders to said installation via said means for
                 communicating;
              means for receiving data comprising operator-selected information and orders

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                  from said installation via said means for communicating;
               and means for interactively directing the operation of said computer, video
                  display, data receiving and transmit ting means, and mass memory
                  comprising means for holding an operational sequencing list, means for
                  processing said operator-entered information, inquiries, and orders
                  according to backwardchaining and forward-chaining sequences, and
                  means responsive to the status of said computer, display, mass memory, and
                  data receiving and transmitting means for controlling their operation;
               said means for processing including means for analyzing said operator-entered
                   information and means, responsive to said means for analyzing, for
                   presenting additional inquiries in response to said operator-entered
                   information;
               said computerized installation further including:
               means responsive to items received from said station for immediately
                  transmitting selected data retrieved from said database to said station;
               means responsive to an order received from said station for updating data in
                  said database including means for correlating to a particular set of data
                  received from said station;
               whereby said system can be used by a plurality of entities, each using one of
                  said stations, to exchange data, and to respond to inquiries and orders
                  instantaneously or over a period of time.
(Exhibit C, col. 6, l. 35 – col. 7, l. 3, emphasis added).
         51.      In order to infringe on this Claim of the ‘508 Patent, if it were valid, which Blevins

does not concede, Blevins must practice every single limitation/element of Claim 1 as set forth

above.

         52.      Claim 1 of the ‘508 Patent contains a number of means-plus-function limitations.

Under 35 U.S.C. § 112, the claims are limited to the corresponding structure described in the

Patent’s specification.

         53.      Upon information and belief, during prosecution, the Examiner initially rejected

the patent application that ultimately issued as the ‘508 Patent under 35 U.S.C. § 112 as being

indefinite, non-enabling, and lacking specification support.

         54.      Upon information and belief, in response, the named inventor stated that support

for the means-plus-function claims in the ‘508 Patent could be found in the specification, using as

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support information from the specification that limits the claims to “financial institution[s],”

“process[ing] loan applications,” “periodically polling the various terminals . . . in order to verify

their status and proper operation,” and “fictitious officer.”

       55.     Upon information and belief, the ‘508 Patent was challenged at the USPTO

according to a program for requesting review by the USPTO’s Patent Trial and Appeal Board

(“PTAB”) for patents that are business method patents. (See Exhibit D).

       56.     As a part of this USPTO PTAB review, the PTAB determined that the claims of the

‘508 Patent are directed toward “a financial product or service” under the America Invents Act

(“AIA”), that “the subject matter of claim 1, as a whole, does not recite ‘a technological feature

that is novel and unobvious over the prior art,’” and that the claims are more likely than not invalid

under 35 U.S.C. § 112. (Exhibit D at 12, 14, 20 & 22).

       57.     As a part of this USPTO PTAB review, the PTAB stated that there is no evidence

that the ‘508 Patent is in any way a “pioneer patent.” (Exhibit D at 14–15).

       58.     Upon information and belief, no final decision was reached in this USPTO PTAB

review because the parties, including inventor Lockwood, settled the underlying dispute prior to a

final decision on the merits by the PTAB.

       59.     Because of the PTAB decision, the ‘508 Patent does not, or should not, enjoy a

presumption of validity.

       60.     Claim 1 of the ‘508 Patent requires utilization of backward or forward chaining in

the processing of operator entered information, inquiries, and orders, and each of the other claims

of the ‘508 Patent include the same requirements.

       61.     Blevins’ website does not perform “backward-chaining” or “forward-chaining” to

the extent Blevins can discern the meaning of such vague and insufficiently described limitations



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of the claims. Therefore, Blevins does not infringe on Claim 1 of the ‘508 Patent or any other

claim as Blevins does not use any backward or forward chaining process.

       62.     Furthermore, the ‘508 Patent has nothing to do with a standard e-commerce website

such as Blevins’.

       63.     Blevins’ website, through which Blevins sells its products through standard

shopping e-commerce functionality, has nothing to do with an alleged complex terminal allowing

an operator to interact with a financial institution through a video-based interface on said terminal

where the video personality (the “fictitious loan officer”) provides to the user directions,

information, and products or services different than those sought by the user.

       64.     No reasonable litigant could conclude that Blevins’ e-commerce website infringes

the claims of the ‘508 Patent.

       65.     No reasonable litigant could conclude that the ‘508 Patent is valid and enforceable.

       66.     Upon information and belief, no assignment to Landmark of rights for the ‘508

Patent has been filed with the USPTO. Thus, it is unknown whether Landmark actually holds

enforcement rights to the ‘508 Patent.

                                               COUNT I

             DECLARATION OF INVALIDITY OF U.S. PATENT NO. 7,010,508

       67.     Blevins restates and incorporates by reference all allegations in paragraphs 1-66 of

this Complaint as if fully set forth herein.

       68.     Landmark claims to have exclusive rights to the ‘508 Patent.

       69.     Landmark has demanded that Blevins pay for a license to the ‘508 Patent due to its

claims in the Demand Letter that Blevins practices Claim 1 of the ‘508 Patent.




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       70.     Landmark is in the business of threatening litigation and following through on that

threat with respect to the ‘508 Patent. A review of Landmark’s record demonstrates a consistent,

recent, and frequent pattern of infringement litigation over the ‘508 Patent, creating a reasonable

fear that Blevins is Landmark’s next infringement litigation target.

       71.     The claims of the ‘508 Patent are invalid under at least any one of 35 U.S.C. §§

101, 102, 103, and 112.

       72.     The claims of the ‘508 Patent do not constitute patentable subject matter pursuant

to 35 U.S.C. § 101 and are invalid or ineligible patents on abstract ideas. The ‘508 Patent claims

the abstract ideas of automated data processing of business transactions. Nothing in the claims,

“transforms the nature of the claims” into patent eligible subject matter. Mayo Collaborative Servs.

v. Prometheus Labs., Inc., 566 U.S. 66, 78, 132 S. Ct. 1289, 1291, 1297, 182 L. Ed. 2d 321 (2012).

Furthermore, “[t]he mere recitation of a generic computer cannot transform a patent-ineligible

abstract idea into a patent eligible invention.” Alice Corp. Pty. v. CLS Bank Int’l, 573 U.S. 208,

223, 134 S. Ct. 2347, 2358, 189 L. Ed. 2d 296 (2014).

       73.     Additionally, the ‘508 Patent is invalid as anticipated pursuant to 35 U.S.C. § 102

or as obvious pursuant to 35 U.S.C. § 103. The PTAB stated that Claim 1 of the ‘508 Patent “as

a whole, does not recite ‘a technological feature that is novel and unobvious over the prior art.’”

(Exhibit D, at 14).

       74.     The claims of the ‘508 Patent are invalid under 35 U.S.C. § 112 for at least the

reasons that the claims are indefinite and not enabled by the Patent’s specification, which does not

mention, teach, or discuss processing orders, and because the specification does not provide any

structure for the numerous means-plus-function clauses recited in the claims other than generic

computer parts.



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       75.     The PTAB determined that the claims of the ‘508 Patent were likely indefinite.

(Exhibit D, at 20, 22).

       76.     Based on Landmark’s Demand Letter and the accusations of patent infringement

contained therein, especially in light of Landmark’s pattern of recent infringement litigation over

the ‘508 Patent, and Blevins’ denial of infringement, a substantial, immediate, and real controversy

exists between Blevins and Landmark regarding whether Landmark is seeking to enforce invalid

patents against Blevins. A judicial declaration is necessary to determine the parties’ respective

rights regarding the ‘508 Patent.

       77.     This controversy arises, in whole or in part, from Landmark’s Demand Letter to

Blevins claiming that Blevins infringes at least Claim 1 of the ‘508 Patent, and demanding Blevins

pay for a license to Landmark. Landmark’s Demand Letter alone, and in combination with

Landmark’s known pattern and practice of filing patent infringement lawsuits against licensing

targets that refuse to pay the license fee, clearly demonstrates Landmark’s intent to seek to

wrongfully enforce the ‘508 Patent against Blevins.

       78.     A judicial declaration that ‘508 Patent is invalid is necessary and appropriate so

that Blevins may ascertain its rights regarding the ‘508 Patent and to prevent further injury to

Blevins.

       79.     The ‘508 Patent is invalid, and Blevins is entitled to a declaration so stating.




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                                               COUNT II

      DECLARATION OF NON-INFRINGEMENT OF U.S. PATENT NO. 7,010,508

       80.     Blevins restates and incorporates by reference all allegations in paragraphs 1-79 of

this Complaint as if fully set forth herein.

       81.     On information and belief, Landmark failed to conduct any pre-demand due

diligence prior to demanding a $65,000 license payment from Blevins. Even a cursory pre-demand

research effort would have yielded that, under the plain language of the claims of the ‘508 Patent,

Blevins’ system and/or technology does not infringe any valid and enforceable claim of that Patent.

       82.     Blevins has not infringed and does not infringe any valid and enforceable claim of

the ‘508 Patent, whether literally or under the doctrine of equivalents.

       83.     Additionally, Blevins is not liable for any induced, contributory, divided, or other

indirect infringement of any valid and enforceable claim of the ‘508 Patent. Neither Blevins nor

its customers who access its website, nor anyone associated with Blevins, utilizes every element

of any claim in the ‘508 Patent as is required for infringement.

       84.     Based on Landmark’s Demand Letter and the accusations of patent infringement

contained therein, especially in light of Landmark’s pattern of recent infringement litigation over

the ‘508 Patent, and Blevins’ denial of infringement, a substantial, immediate, and real controversy

exists between Blevins and Landmark regarding whether Blevins directly or indirectly infringes

or has infringed the ‘508 Patent. A judicial declaration is necessary to determine the parties’

respective rights regarding the ‘508 Patent.

       85.     This controversy arises, in whole or in part, from Landmark’s Demand Letter to

Blevins claiming that Blevins infringes at least the Claim 1 of the ‘508 Patent, and demanding

Blevins pay for a license to Landmark. Landmark’s Demand Letter alone, and in combination



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with Landmark’s known pattern and practice of filing patent infringement lawsuits against

licensing targets that refuse to pay the license fee, clearly demonstrates Landmark’s intent to seek

to wrongfully enforce the ‘508 Patent against Blevins.

       86.     A judicial declaration that Blevins does not directly or indirectly infringe any valid

and enforceable claim of the ‘508 Patent is necessary and appropriate so that Blevins may ascertain

its rights regarding the ‘508 Patent and to prevent further injury to Blevins.

       87.     Blevins contends it does not infringe upon the ‘508 Patent and is entitled to a

declaration so stating.

                                               COUNT III

             DECLARATION OF INVALIDITY OF U.S. PATENT NO. 6,289,319

       88.     Blevins restates and incorporates by reference all allegations in paragraphs 1-87 of

this Complaint as if fully set forth herein.

       89.     The claims of the ‘319 Patent are invalid under at least 35 U.S.C. §§ 101, 102, 103,

and 112.

       90.     There exists a substantial, real, and immediate controversy between Blevins and

defendant Landmark concerning validity of all claims of the ‘319 Patent, and this controversy

warrants the issuance of a declaratory judgment.

       91.     The claims of the ‘319 Patent do not constitute patentable subject matter pursuant

to 35 U.S.C. § 101 and are an invalid or ineligible patent on an abstract idea. The ‘319 Patent

claims the abstract idea of automated data processing of business transactions. Nothing in the

claims, “transforms the nature of the claims” into patent eligible subject matter. Mayo

Collaborative Servs. v. Prometheus Labs., Inc., 566 U.S. 66, 78, 132 S. Ct. 1289, 1291, 1297, 182

L. Ed. 2d 321 (2012). Furthermore, “[t]he mere recitation of a generic computer cannot transform



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a patent-ineligible abstract idea into a patent eligible invention.” Alice Corp. Pty. v. CLS Bank

Int’l, 573 U.S. 208, 223, 134 S. Ct. 2347, 2358, 189 L. Ed. 2d 296 (2014).

          92.   Additionally, the ‘319 Patent is invalid as anticipated pursuant to 35 U.S.C. § 102

or as obvious pursuant to 35 U.S.C. § 103.

          93.   The claims of ‘319 Patent are invalid under 35 U.S.C. § 112 for at least the reasons

that the claims are indefinite and not enabled by the patent’s specification, which does not mention,

teach, or discuss processing orders, and because the specification does not provide any structure

for the numerous means-plus-function clauses recited in the claims other than generic computer

parts.

          94.   A judicial declaration that the ‘319 Patent is invalid is necessary and appropriate so

that Blevins may ascertain its rights regarding the ‘319 Patent and to prevent further injury to

Blevins.

          95.   The ‘319 Patent is invalid, and Blevins is entitled to a declaration so stating.

                                               COUNT IV

         DECLARATION OF NON-INFRINGEMENT OF U.S. PATENT NO. 6,289,319

          96.   Blevins restates and incorporates by reference all allegations in paragraphs 1-95 of

this Complaint as if fully set forth herein.

          97.   Landmark is in the business of threatening litigation and following through on that

threat specifically with respect to the ‘508 Patent. A review of Landmark’s record demonstrates a

consistent, recent, and frequent pattern of litigation, creating a reasonable fear that Blevins is

Landmark’s next infringement litigation target.

          98.   On information and belief, Landmark failed to conduct any pre-demand due

diligence prior to demanding $65,000 license payment from Blevins. Even a cursory pre-demand



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research effort would have yielded that, under the plain language of the ‘319 Patent claims,

Blevins’ system and/or technology does not infringe any valid and enforceable claim of the ‘319

Patent.

          99.    Blevins has not infringed and does not infringe any valid and enforceable claim of

the ‘319 Patent, whether literally or under the doctrine of equivalents.

          100.   Additionally, Blevins is not liable for any induced, contributory, divided, or other

indirect infringement of any valid and enforceable claim of the ‘319 Patent. Neither Blevins nor

its customers who access its website, nor anyone associated with Blevins, utilizes every element

of any claim in the ‘319 Patent as is required for infringement.

          101.   Based on Landmark’s Demand Letter, and the accusations of patent infringement

contained therein, especially in light of Landmark’s pattern of recent infringement litigation over

the ‘508 Patent, and Blevins’ denial of infringement, a substantial, immediate, and real controversy

exists between Blevins and Landmark regarding whether Blevins directly or indirectly infringes

or has infringed the ‘319 Patent. A judicial declaration is necessary to determine the parties’

respective rights regarding the ‘319 Patent.

          102.   This controversy arises, in whole or in part, from Landmark’s Demand Letter to

Blevins claiming that Blevins infringes the ‘319 Patent, and demanding Blevins pay for a license

to the ‘319 Patent or be sued. Landmark’s Demand Letter alone, and in combination with

Landmark’s known pattern and practice of filing patent infringement lawsuits against licensing

targets that refuse to pay the license fee, clearly demonstrates Landmark’s intent to seek to

wrongfully enforce the ‘319 Patent against Blevins.




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       103.    A judicial declaration that Blevins does not directly or indirectly infringe any valid

and enforceable claim of the ‘319 Patent is necessary and appropriate so that Blevins may ascertain

its rights regarding the ‘319 Patent and to prevent further injury to Blevins.

       104.    Blevins contends it does not infringe upon the ‘319 Patent and is entitled to a

declaration so stating.

                                     PRAYER FOR RELIEF

       WHEREFORE, Blevins, Inc. respectfully requests:

       a.      A declaration that Blevins, Inc.’s services, systems, technology, and/or practices

have not infringed and do not infringe, directly or indirectly, any valid and enforceable claim of

the ‘319 Patent or ‘508 Patent, whether literally or under the doctrine of equivalents;

       b.      A declaration that the ‘319 and ‘508 Patents are invalid for failure to comply with

the requirements of 35 U.S.C., including at least §§ 101, 102, 103 and/or 112;

       c.      An order declaring that this is an exceptional case and awarding Blevins its costs,

expenses, disbursements, and reasonable attorneys’ fees under 35 U.S.C. § 285; and

       d.      That Blevins, Inc. be granted such other further relief to which Blevins may be

entitled as a matter of law or equity, or which the Court deems to be just and proper.




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  Dated: August 3, 2020.

                           s/ Jeffrey D. Dyess
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